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 1                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
 2                           WEST PALM BEACH DIVISION
                            CASE NO. 9:18-cv-80176-BB
 3

 4     IRA KLEIMAN, as the personal representative
       of the Estate of David Kleiman, and W&K Info
 5     Defense Research, LLC

 6                 Plaintiffs,                                       May 11, 2021
                                                                     1:48 p.m.
 7               vs.

 8     CRAIG WRIGHT,

 9                 Defendant.                                        Pages 1 THROUGH 22

10     ______________________________________________________________

11
                          TRANSCRIPT OF STATUS CONFERENCE
12                             VIA THE ZOOM PLATFORM
                          BEFORE THE HONORABLE BETH BLOOM
13                         UNITED STATES DISTRICT JUDGE

14
       Appearances:
15
       FOR THE PLAINTIFF:     ROCHE FREEDMAN, LLP
16                            DEVIN FREEDMAN, ESQ.
                              200 South Biscayne, Suite 5500
17                            Miami, Florida 33131

18
                              ROCHE FREEDMAN, LLP
19                            KYLE W. ROCHE, ESQ.
                              99 Park Avenue, Suite 1910
20                            New York, NY 10016

21
                              BOIES SCHILLER & FLEXNER
22                            MAXWELL V. PRITT, ESQ.
                              44 Montgomery Street, 41st Floor
23                            San Francisco, California 94104

24

25

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
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 1     APPEARANCES CONTINUED:

 2     FOR THE DEFENDANT:     RIVERO MESTRE, LLP
                              ANDRES RIVERO, ESQ.
 3                            AMANDA M. MCGOVERN, ESQ.
                              2525 Ponce de Leon Boulevard, Suite 1000
 4                            Coral Gables, Florida 33134

 5
       COURT REPORTER:        Yvette Hernandez
 6                            U.S. District Court
                              400 North Miami Avenue, Room 10-2
 7                            Miami, Florida 33128
                              yvette_hernandez@flsd.uscourts.gov
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                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
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 1          (Call to order of the Court, 1:48 p.m.)

 2               THE COURT:    All right.              Good afternoon to everyone.

 3     I'm not certain who we are waiting for.

 4               MR. FREEDMAN:       Good afternoon, Your Honor.               (Audio

 5     distortion.)

 6               THE COURT:    I'm getting a little bit of an echo.                    I

 7     want to make sure -- Yvette, are you getting the echo as well?

 8               Okay.    All right.         I think someone may have a second

 9     device, perhaps, that is on.              Let me make sure that we've muted

10     all the participants that are not counsel of record.

11          (Pause in proceedings.)

12               THE COURT:    All right.              Let's try this again.

13               Good afternoon to everyone.                     Let's go ahead and call

14     the case and we'll have appearances.

15               COURTROOM DEPUTY:           Calling Civil Case Number 18-80176,

16     Kleiman v. Wright.

17               Counsel, please state your appearances for the record,

18     starting with Plaintiffs' counsel.

19               MR. FREEDMAN:       Good afternoon, Your Honor.               Vel

20     Freedman on behalf of Plaintiffs.

21               MR. ROCHE:    Good afternoon, Your Honor.                   Kyle Roche on

22     behalf of Plaintiffs.

23               THE COURT:    Good afternoon.

24               MR. PRITT:    Good afternoon, Your Honor.                   Maxwell

25     Pritt, Boies Schiller Flexner, on behalf of Plaintiffs.

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 1               THE COURT:    Good afternoon.

 2               MR. RIVERO:     Judge, I believe the Plaintiffs have

 3     introduced themselves.        For Dr. Wright, Andres Rivero.

 4               THE COURT:    All right.              Good afternoon to you as well.

 5               MS. MCGOVERN:       Your Honor, I'd also like to introduce

 6     myself for the record.        My name is Amanda McGovern.             I'm also

 7     making an appearance today on behalf of Dr. Wright.

 8               THE COURT:    All right.              Good afternoon to you as well.

 9               The purpose of this afternoon's proceeding is there

10     was a request for a status conference, so the Court did

11     schedule this following the Court's entry of its order on the

12     parties' joint motion to reset the trial date, reset the

13     calendar call, and extend the due date for demonstrative and

14     summary exhibits.

15               Let me first state for the record that we are

16     proceeding with this status conference by Zoom, a

17     videoconferencing platform.             I know we are all well-aware of

18     that platform at this point.              I am the only individual in the

19     courtroom, along with the court security officer, and we have

20     scheduled this by Zoom.

21               As well, we have placed on the docket notice to appear

22     so this is an open proceeding and the courtroom is also open.

23     But I do not see any individuals that have entered the

24     courthouse.    The courthouse certainly is open, although we are

25     limiting individuals.

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 1               The Court did schedule this case for trial at the

 2     request of the parties to extend the trial period.                            And it is

 3     now scheduled, specially set, for November 1st, at 9:00 a.m.                               I

 4     feel confident that given the time that has passed, the Chief

 5     Judge's latest administrative order continuing jury trials

 6     until July 6th, and the fact that the Southern District has

 7     embarked on a pilot trial in a civil case, that we can proceed

 8     as scheduled with this case in November.

 9               Given that, there should be no reason why the parties

10     cannot adhere to the schedules that are set forth in the

11     Court's order.     And if there are issues that need to be

12     addressed, we can certainly address them.                             I know last time we

13     discussed issues relating to travel bans of witnesses and we

14     certainly discussed the issue of mediation.                            I'm not certain if

15     there are still issues with regard to the witnesses for the

16     November 1st date.     But let me hear from the parties and then

17     we'll address the issues.

18               MR. FREEDMAN:       Your Honor, from the Plaintiffs'

19     perspective, the personal representative resides in Florida, so

20     there's no travel issues.

21               MS. MCGOVERN:       Your Honor, this is Amanda McGovern.

22     With respect to Dr. Wright, he resides in the UK and presently

23     there is a travel ban with respect to his ability to travel.

24     We are hopeful that there will be no issue for the trial on

25     November 1st.    We're simply raising it so that we will let the

                                 Yvette Hernandez, Official Court Reporter
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 1     Court know and the parties know that we're monitoring it.                   If

 2     anything comes up closer to trial, we'll let you know.                But

 3     that's the only concern, is that he actually would not be able

 4     to come into the United States.

 5               THE COURT:    All right.              Well, as we get closer --

 6     obviously, we do have a calendar call that's scheduled.

 7     Although, given that there are -- at least one individual, the

 8     Defendant, but there -- I would suspect that there are some

 9     witnesses that may be coming from out of the district,

10     certainly out of the country.               I do want to give you sufficient

11     time to make arrangements for those individuals to appear.

12               Have the parties discussed, in the event that there

13     are some issues related to travel, including a travel ban, that

14     may still be in place, whether there would be an agreement to

15     have some of the witnesses appear by videoconference?

16               MS. MCGOVERN:       Your Honor, we did have a meet and

17     confer yesterday for the purpose of trying to actually identify

18     whatever issues might be helpful to the Court today.

19               We've talked in the past about the travel ban with

20     respect to Dr. Wright.        He expresses his, you know, desire to

21     be present for the trial.           So that would be very problematic

22     for us.   But we have not -- did not include that in our

23     discussion yesterday with the Plaintiffs.

24               THE COURT:    And putting aside the parties to this

25     case, with regard to some of the witnesses, do you anticipate

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 1     that there may be issues with some of the witnesses'

 2     availability to be here in person in the Southern District?

 3               MS. MCGOVERN:       The only other issue -- the only other

 4     witness that it could potentially affect, Your Honor, is Ramona

 5     Watts, who is also a witness, who -- but it is unclear whether

 6     that would be a complete prohibition to proceeding.                       Again, it

 7     would only be to the extent that there would be a travel ban.

 8     Ramona Watts is Dr. Wright's wife and she also resides in the

 9     UK.

10               THE COURT:    All right.              Mr. Freedman, do you

11     anticipate there being issues with regard to the Plaintiffs'

12     witnesses?

13               MR. FREEDMAN:       No, Your Honor.

14               THE COURT:    All right.              Well, perhaps you can advise

15     the Court.    What issues did you discuss yesterday in your meet

16     and confer that we can address today?

17               MS. MCGOVERN:       Certainly, Your Honor.                  We discussed

18     the fact that the parties have a combined list -- or it's not a

19     joint list.    But the Plaintiffs have 708 exhibits on the

20     Plaintiffs' exhibit list, which was submitted on the March 16th

21     deadline, and the Defendants have 363 exhibits presently on

22     their list that was also submitted at that time.                       And we did

23     discuss the following, Your Honor, which we would like to

24     present to you for your thoughts and guidance on it.

25               And that is, what is the best way for us to present

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
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 1     what is a fairly substantial amount of exhibits in the case

 2     right now -- and of course, the parties have objected to, you

 3     know, almost all of them.           And so there's a procedure that we

 4     thought might be helpful, which I can present now.                    And it was

 5     discussed with the Plaintiffs, and I think I do so -- and of

 6     course, I know Mr. Freedman and Mr. Roche will tell me if I

 7     have misstated it in any way.               I don't mean to do that.

 8               We'd like to work together to try to streamline the

 9     exhibits more and also try to address amongst ourselves our

10     respective objections to those exhibits to see whether we can

11     narrow it, and then submit exhibit lists that do so at a date

12     that would be consistent with sort of the time frame that the

13     Court had envisioned when the trial was set for June 1st, and

14     the -- and the exhibit lists were due on March 16th, which is a

15     little bit -- two months and some before the trial.                   We're

16     thinking that perhaps at the same time as the demonstrative

17     exhibits are due, where the Court in the last order extended

18     that deadline at our request, we would submit the respective

19     exhibit lists at that time, with the concerted effort to try to

20     minimize objections, streamline the documents.

21               And then also we were wondering if perhaps it would be

22     a good idea for us to set aside a period, a day, or half a day,

23     or whatever time the Court would have under the circumstances

24     to try to address the parties' objections in advance to make

25     the trial, I don't know, less -- you know, more efficient, less

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
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 1     interruption, if that's possible.                   The goal, of course, trying

 2     to make it more efficient for the Court, for the parties, and

 3     the jury.

 4                THE COURT:   Mr. Freedman, are you in agreement with

 5     what Ms. McGovern has stated?

 6                MR. FREEDMAN:      Yes, Your Honor.

 7                THE COURT:   All right.              Then I would -- well, first,

 8     let me ask the question.          Of the 1,071 exhibits, is there any

 9     overlap?    Are there some joint exhibits within --

10                MS. MCGOVERN:      There are.               There are.     We've noticed,

11     Your Honor, that, in fact, there are some documents that are on

12     both the parties' lists, and it's not a perfect situation.

13     There are objections to documents that are on both the parties'

14     lists.   So you know, I'm not quite sure how that happened.

15     It's not a lot, but it's a little bit of a cleanup.                       And, you

16     know, not casting any aspersions to anybody on the call right

17     now, just simply letting the Court know.

18                But that really wasn't the reason for this request.

19     It was really more looking at the Court's order and figuring

20     out, okay, what is the best way to get so many documents before

21     the Court.    I know the Court has asked us to submit copies of

22     the exhibits, in fact, multiple copies of the exhibits, for

23     purposes of going over them.              And so it's just a lot.           And our

24     thought was maybe we take another effort at streamlining, and

25     then ask the Court what is the best method for you and, you

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
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  1    know, the members of the court for having them, addressing

  2    them; how would you like to receive them; is it better in

  3    paper; is it better in a Dropbox.                   I mean, we'd like to work in

  4    any way we can to make this easier and more efficient.

  5               THE COURT:    Certainly.

  6               Well, first and foremost, I would suggest that all of

  7    the exhibits be electronically filed.

  8               Second, I would suggest that if there are joint

  9    exhibits, that the parties confer and file a joint exhibit list

10     that has, for example:        "Joint Exhibit 1."                      And those would be

11     the exhibits that both parties have agreed with regard to the

12     relevance and the authenticity and there is no issue that those

13     exhibits are admissible at the time of trial.

14                Putting aside the joint exhibits, I would then take

15     those out of the 708 exhibits for the Plaintiff and the 363

16     exhibits for the Defendant, and whatever is left I would file

17     separate Plaintiffs' exhibit list and the Defendant's exhibit

18     list.    And from those two lists, the parties can certainly

19     advise the Court of the objections that they have.                           And that's

20     obviously consistent with our local rule as to what objection

21     is to be made with regard to each of the exhibits.

22                And then, if appropriate, the Court will certainly

23     rule on those objections well before the calendar call.

24     Oftentimes, with regard to relevance, hearsay, it's very hard

25     for the Court to know how that exhibit is going to be

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
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  1    introduced, who it's going to be introduced through, and the

  2    context and the foundation.             So oftentimes it is not an issue

  3    that can be addressed before the trial and before the exhibit

  4    is sought to be introduced.             So I would suggest that you

  5    organize the exhibits in that fashion and then file the

  6    exhibits accordingly, file them electronically.

  7               I would suggest with our jury that we do the same.

  8    And that is that you be prepared to publish each of the

  9    exhibits electronically through -- certainly, we have a

10     significant amount of equipment here in the courtroom.                         You are

11     free to, as we get closer to the trial -- although we're here

12     and my courtroom deputy is here as well.                          If you wanted to make

13     arrangements to come into the courtroom, see the equipment that

14     we have, we can certainly give you access to someone from our

15     IT department and allow you to bring in someone from your IT

16     department so that you can understand what equipment we have,

17     make sure that it's adaptable to the equipment that you have,

18     and any extension cords or other electronic equipment that

19     you're going to need, that you make those arrangements because

20     you do need permission to bring them into the courtroom.                         So

21     then I would file that motion to bring those electronic devices

22     into the courtroom.

23                As well, any non-attorney also needs permission to

24     bring any electronic device, including a phone.                         So I would

25     make those arrangements ahead of time as well.

                                 Yvette Hernandez, Official Court Reporter
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                                          Miami, Florida 33128
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  1               But back to the exhibits, we've discussed the

  2    publishing of the exhibits.             I recognize that there may be some

  3    exhibits that are unique, and perhaps you want that exhibit to

  4    be shown to the jury, but I think we also need to take into

  5    consideration that -- and I'm looking here at my jury box --

  6    that we are going to be separating the jurors to at least three

  7    feet.    So they are going to be placed in probably every other,

  8    if not, two seats between them.                 And to that extent, we have

  9    screens.    And I would suggest that it may be easier to just see

10     how the jury is going to be viewing those exhibits once they're

11     introduced and you seek to publish them.                          But I think that that

12     is the easiest way, as opposed to handing exhibits to the

13     jurors.

14                So unless you tell me otherwise, and unless there's a

15     unique exhibit -- obviously, this does not include the

16     demonstrative exhibits -- but unless you tell me otherwise, I

17     think that that would be the suggestion that I would make.

18                MS. MCGOVERN:      Thank you, Your Honor.

19                THE COURT:    So what other issues do we need to discuss

20     today?

21                MR. FREEDMAN:      On that one issue, Your Honor, is the

22     Court amenable to extending the deadline to submit those new

23     exhibits to around the same time as the demonstrative exhibits

24     are due?

25                THE COURT:    Did you discuss that yesterday?

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
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  1               MS. MCGOVERN:      Yes.

  2               MR. FREEDMAN:      We did.

  3               THE COURT:    That the parties would be seeking an

  4    extension?

  5               MR. FREEDMAN:      Yeah.         I think technically, Your Honor,

  6    the exhibits are already on file with you.                            But like

  7    Ms. McGovern said, there are issues that need to be resolved.

  8    So we were looking to have an opportunity to kind of refine

  9    that for you.

10                THE COURT:    All right.             Then I would suggest that now

11     that you're going to be listing the joint exhibits separately

12     after another meet and confer, that perhaps the Court extend

13     the date for the exhibits, both the Plaintiffs' exhibits, the

14     Defendant's exhibits, and the joint exhibits, to the same date

15     as the demonstrative summary exhibits of August 31st.

16                Is that acceptable to both attorneys?

17                MS. MCGOVERN:      That is acceptable, Your Honor, with

18     one caveat.     We did agree yesterday that this is not a -- for

19     lack of a better phrase, do-over.                   We've already put in a lot

20     of work on this in a three-day meet and confer.                           So this is not

21     a sort of "do it all over again."                   It's just to make this

22     streamlined, fix any snafus, and make it more efficient for

23     everybody, and of course follow the Court's procedures you've

24     just outlined.

25                THE COURT:    Well, thank you for saying what I was

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
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  1    thinking, Ms. McGovern.         This is not a do-over.                    There's a

  2    thousand and 71 exhibits, from what you've advised, and that's

  3    the world.    So we'll work on those exhibits on the meet and

  4    confer.

  5               MS. MCGOVERN:      Thank you, Your Honor.

  6               MR. FREEDMAN:      Your Honor, I do think both parties did

  7    speak about adding a few exhibits on both sides.                           Ms. McGovern,

  8    is that wrong or --

  9               MS. MCGOVERN:      Yes, we did.                Yes.        We don't have a

10     problem with that.      We just wanted to make it clear that this

11     isn't a complete rehash.

12                MR. FREEDMAN:      A hundred percent it's not a complete

13     rehash.    But as -- obviously, as we've continued preparation,

14     other exhibits have -- we've noticed other exhibits, and there

15     are multiple versions of the same exhibit.                            So a hundred

16     percent it's a cleanup.         But I just didn't -- I just wanted to

17     address the Court's statement before that the universe is a

18     thousand 71 exhibits.       It may shrink.                  It may get a little

19     bigger, but it's certainly not a do-over.

20                THE COURT:    So back to the trial date and issues with

21     regard to witnesses.      While I understand that it is somewhat up

22     in the air with regard to out-of-district witnesses, have each

23     of you spoken to your respective witnesses with regard to the

24     special set date of November 1st?                   And is there an issue with

25     this date, first and foremost, with regard to any critical or

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                                     400 North Miami Avenue, 10-2
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  1    essential witness?

  2               MR. FREEDMAN:      From the Plaintiffs' perspective, Your

  3    Honor, from the -- the Plaintiff himself is available.                       We have

  4    not reached out to every other witness, but we certainly can do

  5    so.

  6               MS. MCGOVERN:      Your Honor, we have reached out to the

  7    witnesses that we've placed under subpoena for trial.                        And thus

  8    far, we have received no objection to the new November 1st

  9    trial date.

10                THE COURT:    All right.             And at the last setting, we

11     did discuss the disparity between the estimated trial time.

12     The Plaintiff is estimating 15 days.                      The Defendant is

13     estimating 27 days.      I am devoting three weeks for the trial.

14     And to the extent that there's a longer period of time, then

15     we'll adjust accordingly.           We will need to take into

16     consideration that there is at least one holiday that will run

17     up during that time.      And I just want to make sure that -- from

18     the Court's standpoint that I'm devoting those three weeks.

19     That would take us right before the Thanksgiving holiday.                       But

20     I recognize that there will be individuals that anticipate

21     traveling, and I think it is incumbent upon the attorneys to

22     confirm with your witnesses that they are available, so that we

23     are not addressing at the calendar call rescheduling a

24     three-week block of time.

25                And I say that most respectfully because this is a

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
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  1    civil case.     The civil cases right now in the district will not

  2    be taking priority once we get started with our criminal cases.

  3    So to the extent that the Court is going to be taking that

  4    period of time to try this case, I want to ensure that the

  5    parties understand that the Court is making a commitment and as

  6    well you and your witnesses need to make the corresponding

  7    commitment.

  8               MS. MCGOVERN:      Thank you, Your Honor.

  9               MR. FREEDMAN:      Understood.

10                THE COURT:    And Ms. McGovern, have you discussed the

11     possibility of a second mediation or have you --

12                MS. MCGOVERN:      Your Honor, we have, we believe, done

13     everything we can to try to resolve this case.                        And we'd like

14     to thank Judge Scott in those efforts.                        But to be perfectly

15     candid, I think we have exhausted those efforts.

16                MR. FREEDMAN:      I agree, Your Honor.

17                THE COURT:    Mr. Freedman, you are in agreement, sir?

18                MR. FREEDMAN:      I am, Your Honor.

19                THE COURT:    All right.             At the calendar call, I think

20     we can certainly discuss the number of witnesses.                       We'll be in

21     a better -- excuse me -- the number of jurors.                        We'll be in a

22     better position to know how many jurors are going to be called

23     in.   I say that because right now, given the numbers and where

24     we are with regard to the pandemic, we certainly are limiting

25     the number of jurors that come into the courthouse.                       So I think

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                                     400 North Miami Avenue, 10-2
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  1    I'll have a better indication for each of you and we'll know

  2    certainly what we can anticipate in terms of bringing in panels

  3    to select the jury.

  4               But do you have any questions that I can answer about

  5    the trial on November 1st?

  6               MR. FREEDMAN:      Not for the Plaintiff, Your Honor.

  7               MR. RIVERO:    Judge, I do have a question, Your Honor.

  8    How will the Court approach -- how many venire people will be

  9    in the court at one time?           I'm assuming that we'll conduct jury

10     selection in person.      Is the -- I assume the Court's going to

11     limit the number of people at one time and then bring

12     additional groups in.       I'm just trying to get an idea of how

13     this will work.

14                THE COURT:    That's correct, Mr. Rivero.                  Ordinarily, I

15     would bring in 44 jurors.           But I don't anticipate that we will

16     be able to accommodate that many jurors in the gallery.

17     Normally, I'd place them in the gallery, but we certainly

18     cannot fit eight individuals on each of the benches.                     So we'll

19     need to adjust accordingly where we are in terms of the CDC

20     guidelines and where we are in terms of jurors that have been

21     vaccinated.

22                It's something that I did want to speak with you --

23     but I think at this point it's a little too premature with

24     regard to the requirement or whether the jurors are going to

25     require that all of the attorneys and the witnesses are

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
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  1    vaccinated or whether that's going to be an issue down the

  2    road.    I think that's something that we can address once we get

  3    closer to the trial.

  4               MR. RIVERO:    Judge -- and I assume, just to -- I

  5    assume that we'll have to play it by ear in terms of -- I know

  6    the Court would ordinarily ask one question that would cover

  7    the entire venire, and we'll just have to deal with this, I

  8    assume, as we go, and you'll let us know how to do it.

  9               THE COURT:    Well, as you know, the Court does use a

10     questionnaire, and I did advise the parties that I would

11     discuss the Court's oral process in terms of asking questions.

12     I believe that as we get closer, if there are specific

13     questions that you want the Court to ask the jurors, I

14     certainly will.     This is a unique case.                      So I would anticipate

15     that there will be some questions that you want the Court to

16     ask.

17                And then, of course, if I haven't stated it

18     previously, I am of the philosophy that I do allow the

19     attorneys an opportunity to question the jurors as well.

20                MR. RIVERO:    Thank you, Judge.

21                THE COURT:    Are there -- I wish I could give you more

22     answers in terms of the jury process, but it's a different

23     world now.    But we will -- as Mr. Rivero stated, and as I

24     stated, we're going to limit the number of jurors that will

25     come in.

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
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  1               I must say that Judge Ungaro is conducting a trial now

  2    and it is going very well.            She was able to pick a jury in less

  3    than a day.     So I anticipate that we'll have -- any issues with

  4    regard to bringing jurors in, bringing them into the jury room,

  5    bringing them into the elevator in terms of having a system.

  6    Each of the jurors has a bag of -- you know, of a face mask,

  7    sanitizing wipes.      So we've made many arrangements to prepare

  8    us to bring in jurors.        I think we'll be in a better position

  9    come September at the calendar call.

10                So are there any other questions that I can answer?

11                MR. FREEDMAN:      Not for the Plaintiffs.

12                MS. MCGOVERN:      None for the Defendant, Your Honor.

13                THE COURT:    All right, then.                   The one thing that I do

14     want to make sure -- and I don't think -- yes.                        I do not have

15     that.    And I think that that would be helpful -- is your

16     witness list.     If you can give the Court -- since the Court is

17     going to be reading the list of witnesses that will be

18     testifying, if you can just give me a little bit of their

19     background, you know, what their position is with a particular

20     company, where they live, so that I can advise -- for

21     example -- I'm just looking at the witness list now and I just

22     want to make sure that -- like, for example, Robert Radvanovsky

23     resides in Chicago, Illinois.               He's a cybersecurity researcher.

24     If you can just give me a little bit more information, for

25     example, what company he works for.                     Because if I ask the

                                 Yvette Hernandez, Official Court Reporter
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                                          Miami, Florida 33128
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  1    jurors if they have any familiarity with that individual, it

  2    may be through a relationship with a particular company.

  3               So if you can give me a little bit more information.

  4    And when you file your exhibit lists, if you will do that for

  5    each of your witnesses, I would appreciate that.                      Just

  6    anticipate that the jury's going to need to understand who that

  7    witness is.

  8               MR. FREEDMAN:      Absolutely.

  9               MS. MCGOVERN:      Yes.        Absolutely.

10                THE COURT:    Well, if there is nothing further ...

11                MR. FREEDMAN:      Nothing further from Plaintiffs, Your

12     Honor.    Thank you for your help and navigation through these

13     interesting times.

14                THE COURT:    Of course.

15                Ms. McGovern?

16                MS. MCGOVERN:      Thank you very much, Your Honor.               Very

17     helpful.

18                THE COURT:    All right.             Then everyone take good care.

19     I have given you the deadline with regard to the joint exhibit

20     list and the Plaintiff and the Defendant's exhibit list.

21                I would also suggest that you take the opportunity to

22     look at the courtroom, if you have not been in this courtroom,

23     so that you can make those arrangements on your end with your

24     IT folks, and we certainly have someone to assist you.

25                And my courtroom deputy, Liz Gariazzo, can certainly

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
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  1    be contacted and make those arrangements for you.

  2               MR. FREEDMAN:      Thank you, Your Honor.

  3               MS. MCGOVERN:      Thank you, Your Honor.

  4               THE COURT:    All right.             Everyone take good care.

  5               MR. RIVERO:    All right, Judge.

  6               THE COURT:    Thank you.

  7         (Proceedings concluded at 2:14 p.m.)

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                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
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  1    UNITED STATES OF AMERICA                  )

  2    ss:

  3    SOUTHERN DISTRICT OF FLORIDA              )

  4                             C E R T I F I C A T E

  5                I, Yvette Hernandez, Certified Shorthand Reporter in

  6    and for the United States District Court for the Southern

  7    District of Florida, do hereby certify that I was present at

  8    and reported in machine shorthand the proceedings had the 11th

  9    day of May, 2021, in the above-mentioned court; and that the

10     foregoing transcript is a true, correct, and complete

11     transcript of my stenographic notes.                      Please note:   This

12     hearing occurred during the COVID-19 pandemic and is therefore

13     subject to the technological limitations of reporting remotely.

14                 I further certify that this transcript contains pages

15     1 - 22.

16                 IN WITNESS WHEREOF, I have hereunto set my hand at

17     Miami, Florida this 17th day of May, 2021.

18

19                             /s/Yvette Hernandez
                               Yvette Hernandez, CSR, RPR, CLR, CRR
20                             400 North Miami Avenue, 10-2
                               Miami, Florida 33128
21                             (305) 523-5698
                               yvette_hernandez@flsd.uscourts.gov
22

23

24

25

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
